   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 1 of 13 PageID# 99




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division



CLIFTON L. COLLINS,

                       Petitioner,

                                                               Case No. 3:13-cv-00763-JAG


HAROLD W. CLARKE, DIRECTOR,
VIRGINIA DEPARTMENT OF
CORRECTIONS,

                       Respondent.

                                     MEMORANDUM OPINION


       This matter comes before the Court on the respondent Harold Clarke's Motion to Dismiss

Clifton Collins' Petition for a Writ of Habeas Corpus. (Dk. No. 5.) Pursuant to 28 U.S.C. §

2254, Collins, a Virginia state prisoner, challenges his convictions for attempted abduction, in

violation of Va. Code §§ 18.2-26 and 18.2-47, and use of a firearm in the commission of a

felony, in violation of Va. Code § 18.2-53.1. (Dk. No. 1.)

       Collins presses four claims in his habeas petition, none of which state a valid claim for

relief. Accordingly, the Court GRANTS the respondent's motion to dismiss and DISMISSES

the petitioner's § 2254 petition.

                                      I.      Statement of Facts


       Collins, a bail bondsman licensed by the state of North Carolina, posted bond for a

criminal defendant, James Sydnor. Sydnor fled North Carolina in violation of his bond. Collins

traveled to Virginia after learning that Sydnor would be there attending a funeral. At the funeral,

Collins accosted a suspect at gunpoint whom he believed to be Sydnor. Unfortunately, this

caused two problems for Collins. First, Virginia has adopted a licensure statute for bondsmen,
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 2 of 13 PageID# 100



and Collins does not have a Virginia license. Second, Collins did not confront Sydnor but rather

his cousin, Spruill, the assistant police chief of a Virginia locality.

        These events led to Collins' convictions and the resulting prison sentence.        Collins

appealed, but both the Virginia Court of Appeals and the Virginia Supreme Court affirmed his

convictions. Collins v. Com., 283 Va. 263, 720 S.E.2d 530 (2010); Collins v. Com., 57 Va. App.

355, 702 S.E.2d 267 (2010).

        Collins then filed a petition for writ of habeas corpus with the Virginia Supreme Court.

The Court denied his petition.      Collins v. Clarke, No. 130099, at p. 3 (Va. 2013).     Collins

subsequently filed the instant petition in this Court.

                                       II.     Legal Standard

        The Antiterrorism and Effective Death Penalty Act ("AEDPA") of 1996 limits this

Court's authority to grant relief from state court convictions by way of a writ of habeas corpus.

AEDPA restricts the scope of federal review of both the factual findings and the legal

conclusions made by state courts.

        As to factual findings, "[s]tate court factual determinations are presumed to be correct

and may be rebutted only by clear and convincing evidence." Gray v. Branker, 529 F.3d 220,

228 (4th Cir. 2008) (citing 28 U.S.C. § 2254(e)(1)); Tucker v. OzminI, 350 F.3d 433, 439 (4th

Cir. 2003). In order to overturn a state conviction, a federal court must find that the state court

rendered "a decision that was based on an unreasonable determination of the facts in light of the

evidence presented in the State court proceeding." 28 U.S.C. § 2254(d). The relevant question

in reviewing factual findings is whether, "after viewing the evidence in the light most favorable




' Collins compounded his problems by accusing Spruill of engaging in incestuous sexual
activities.
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 3 of 13 PageID# 101



to the prosecution, any rational trier of fact could have found the essential elements of the crime

beyond a reasonable doubt." Id, at 319 (citingJohnson v. Louisiana, 406 U.S. 356, 362 (1972)).

       Similar limitations apply to this Court's power to review a state court's legal conclusions.

Under 28 U.S.C. § 2254(d), a federal court may not grant a writ of habeas corpus based on any

claim that was adjudicated on the merits in state court unless the adjudicated claim "resulted in a

decision that was contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States." 28 U.S.C. § 2254(d)(1).

The question "is not whether a federal court believes the state court's determination was incorrect

but whether that determination was unreasonable—a substantially higher threshold." Schriro v.

Landrigan, 550 U.S. 465, 473 (2007) (citing Williams v. Taylor, 529 U.S. 362, 410 (2000)).

       Consequently, "state-court judgments must be upheld unless,               after the closest

examination of the state-court judgment, a federal court is firmly convinced that a federal

constitutional right has been violated." Williams, 529 U.S. at 387. "A federal habeas court may

not issue the writ simply because that court concludes in its independent judgment that the

relevant state court decision applied clearly established federal law erroneously or incorrectly.

Rather, that application must also be [objectively] unreasonable." Id. at 411.

       A final check on the Court's authority applies in this case. If the underlying state court

habeas decision denied relief based on an adequate and independent state law ground, the federal

court cannot reverse the state court's decision based on a violation of federal law.      Weeks v.


Angelone, 176 F.3d 249, 269-70 (4th Cir. 1999).

                                        III.   Discussion


       Collins advances four arguments in support of his request for habeas relief.       First, he

argues that he had a federal common law right to pursue a bail jumper into another state, which
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 4 of 13 PageID# 102



legalized his attempt to capture the fugitive and therefore should have precluded his convictions.

Second, he claims that his convictions amounted to unconstitutionally retroactive punishment.

Third, he contends that the state trial court erred in finding that he possessed the requisite

specific intent to commit abduction. Finally, he says that he received ineffective assistance of

counsel because his attorney failed to preserve his retroactive punishment argument and specific

intent arguments for appeal. None of these claims succeed; the Court will address each argument

in turn.


    A. Abrogation of Federal Common Law Right

           Collins says that because he has a North Carolina license to act as a bail bondsman, he

also has a federal common law right to arrest fugitives in any other state, even those states where

he does not possess a bail bondsman license. Since he had a right to capture the fugitive, he says

that his actions did not amount to abduction.


           Collins' right allegedly stems from dicta in a 19th-century Supreme Court case, Taylor v.

Taintor, 83 U.S. 366, 371 (1872).        In Taylor, the Court said that "[w]hen bail is given, the

principal is regarded as delivered to the custody of his sureties .... They may pursue him into

another state".     Id   In Collins' direct appeal, the Virginia Supreme Court assumed, without

deciding, that Taylor created a common law right for licensed bail bondsmen to arrest fugitives

in states where they do not possess a license. Collins v. Com. 283 Va. at 269.2 The Court,

however, still upheld Collins' conviction, holding that Va. Code § 9.1-185 el seq., "plainly


   While the Fourth Circuit has not expressly rejected Collins' claim, it has expressed
considerable skepticism at his interpretation of the dicta in Taylor. See Kear v. Hilton, 699 F.2d
181, 182 n. 2 (4th Cir. 1983) ("We proceed on the assumption that the Taylor decision, which
has never been overruled, remains the law. Neither party would appear to be in a position to seek
abrogation of the rule in Taylor's case. Neither, at any rate, has sought to do so. However, we
note, in passing, that it has been a long time since 1872); See also Lund v. Seneca Cty. Sheriffs
Dept., 230 F.3d 196, 198 (6th Cir. 2000) (holding that "[Taylor] does not create for bondsmen 'a
clearly established right' under the Extradition Clause").
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 5 of 13 PageID# 103



manifested [the General Assembly's] intent to abrogate the long standing common law rule

allowing out-of-state bail bondsmen and bounty hunters to enter Virginia to apprehend fugitive

bailees." Id. at 271.


       Even assuming that Taylor creates a federal common-law right, states may abrogate

federal court decisional rules so long as their actions do not violate due process. Fletcher v.

Weir, 455 U.S. 603, 605 (1982).       Collins does not argue that the Virginia Supreme Court's

decision violated due process. His main arguments deal instead with the policies behind bail

bond laws. See (Dk. No. 1 at *\ 48) ("...[the act] makes no provision to permit a Virginia

licensed bondsman or bail enforcement agent to recover a principal on behalf of the bondsman

not licensed in Virginia"); (Dk. No. 1 at %51) ("This interpretation causes the contractual rights

of the out of state bondman to be defined ... by the law of whichever jurisdiction to which the

principal may abscond.     Such a result could lead to chaos and uncertainty").      While these

arguments may make some sense, they neither establish the underlying ruling's unreasonableness

nor do they make out a valid claim for relief.

        In any event, the Court finds that the Virginia Supreme Court acted reasonably. The

Court notes that numerous courts over the past 40 years have found Taylor abrogated by various

statutory enactments. These decisions underscore the reasonableness of the Supreme Court's

conclusion on the abrogation issue.3 The Virginia Supreme Court's opinion goes into great

detail as to why the General Assembly abrogated Taylor. It addresses arguments on both sides



3 See Collins v. Com., 57 Va.App. 355, 366-368 (Va. App. 2010) (citing Lund v. Seneca Cty.
Sheriff's Dept., 230 F.3d 196 (6th Cir. 2000); Lopez v. McCotter, 875 F.2d 237 (10th Cir. 1989);
Ouzts v. Maryland Nat'I Ins. Co., 505 F.2d 547 (9th Cir. 1974); Moncriefv. State, Comm'r of
Ins., 415 So.2d 785 (Fla. Dist. Ct. App. 1982)); Walker v. Com., 127 S.W.3d 596 (Ky. 2004);
Com. v. Wilkinson, 613 N.E.2d 914 (Mass. 1993); State v. Epps, 585 P.2d 425 (Or. Ct. App.
1978); State v. Shadbolt, 590 N.W.2d 231 (S.D. 1999); Green v. State, 829 S.W.2d 222 (Tex.
Crim. App. 1992).
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 6 of 13 PageID# 104



before determining that the enactment of Va. Code § 9.1-185 et seq. had abrogated Taylor. That

Court is well equipped to determine the intent of the Virginia General Assembly, and Collins has

provided nothing to cast doubt upon its decision. Under AEDPA's relaxed standard, the Court

finds the Virginia Supreme Court's decision reasonable, and rejects the petitioner's claim.

    B. Retroactivity

        Collins next claims that his conviction deprived him of due process and constituted

retroactive punishment. He says that he could not have foreseen that the Virginia Supreme Court

would find that the Virginia General Assembly had abrogated Taylor.            Collins raised this

argument on appeal. The Court of Appeals refused to address this claim on its merits, expressly

ruling that Va. Sup. Ct. Rule 5A:18 barred the petitioner from asserting it because he failed to

preserve it at the trial court level.

        While the Virginia Supreme Court did not specifically address the petitioner's

retroactivity argument, this Court will assume that it upheld the Court of Appeals' ruling on the

same grounds. See Ylst v. Nunnemaker, 501 U.S. 797, 803 (1991); see also Maxwell v. Com.,

754 S.E.2d 516, 518-19 (Va. 2014) ("Rule 5A:18 contains the contemporaneous objection rule

applicable to the Court of Appeals and parallels the requirements of the contemporaneous

objection rule applicable to this Court as provided in Rule 5:25."). Rule 5A:18 constitutes an

adequate and independent state law ground for decision that would bar the Court's review of this

claim. See Weeks v. Angelone, 176 F.3d at 270. Virginia's appellate courts have consistently

required parties to object at trial in order to preserve issues for appeal, and such a ruling

precludes habeas relief. See Martinez v. Ryan, — U.S. —, 132 S.Ct. 1309, 1316 (2012) (holding

that in habeas cases, a "state procedural rule is a nonfederal ground adequate to support the

judgment [if] the rule is firmly established and consistently followed").
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 7 of 13 PageID# 105



       Collins tries to avoid the effect of the procedural default rule by claiming that he did not

have to assert the retroactivity defense at his trial. Fie asserts that the retroactive application did

not occur until the Virginia Supreme Court upheld the decisions of the Circuit Court and Court

of Appeals and ruled that the Virginia General Assembly had abrogated Taylor. Rule 5:25

(applicable to the Supreme Court), and 5A:18 (applicable to the Court of Appeals), however,

provide identically that "[n]o ruling of the trial court ... will be considered as a basis for reversal

unless an objection was stated with reasonable certainty at the time of the ruling." These rules

"afford[] the trial court an opportunity to rule intelligently on the issues presented, thus avoiding

unnecessary appeals and reversals."      Scialdone v. Com., 279 Va. 422, 437, 689 S.E.2d 716

(2010) (quoting Weidman v. Babcock, 241 Va. 40, 44, 400 S.E.2d 164 (1991)) (internal

quotations omitted). To accomplish this goal, "the parties must inform the circuit court 'of the

precise points of objection in the minds of counsel.'" Maxwell, 754 S.E.2d at 519 (quoting

Gooch v. City of Lynchburg, 201 Va. 172, 177, 110 S.E.2d 236 (1959)). The parties must also

make their objections "at a point in the proceeding when the trial court is in a position, not only

to consider the asserted error, but also to rectify the asserted error." Scialdone, 279 Va. at 437.

For the purposes of these rules it does not matter when the retroactive application occurred, only

when the need to object presented itself.

        Here, right before finding Collins guilty, the trial court conducted an extensive hearing on

whether the enactment of Va. Code § 9.1-185 et seq. had resulted in Taylor's abrogation. (Trial

Transcript, July 17, 2009 Motions Hearing, pp. 14-61.) The trial court specifically asked the

petitioner's attorney whether the Virginia General Assembly could abrogate Taylor, and whether

it had done so. {Id. at pp. 20-21.) The trial court went on to find that "the Taylor v. Taintor case

is a statement of what the common law was many years ago," while noting that "Virginia has the
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 8 of 13 PageID# 106



right to change [its] own law." {Id. at p. 60.) The Court also held that that the licensing statute

applied to Collins who, consequently, had "act[ed] as an unlicensed bondsman in Virginia." {Id.

at p. 61.)

          Once the circuit court determined that the bail bondsmen licensing statute applied,

Collins' retroactivity claim clearly presented itself. At this point, he could have argued that the

charges against him would result in retroactive punishment because of a change in the license

law that would previously have allowed him to arrest the suspect. Had Collins done so, the trial

judge could have considered the issue, and might have ruled in Collins' favor. Collins did not do

this. He failed to make any objection to retroactivity. As a result, Virginia law barred him from

asserting this claim on appeal. The Virginia Supreme Court's application of this procedural bar

constitutes an adequate and independent state law decision that precludes the Court from

addressing the petitioner's retroactivity claim.

    C. Lack of Specific Intent

          In his third claim, Collins argues that his conviction violated due process. He says that he

only intended to detain a fugitive in his role as a bail bondsman, and thus did not have the

specific intent to abduct Spruill. Collins first raised this claim in his state habeas petition. The

Virginia Supreme Court rejected Collins' claim because he failed at trial to preserve the issue for

appeal.      Collins v. Clarke, No. 130099, at p. 3 (citing Slayton v. Parrigan, 215 Va. 27, 29

(1974)). The Parrigan rule constitutes an adequate and independent state law ground for default.

Vinson v. True, 436 F.3d 412 (4th Cir. 2005).           This bars the Court from considering the

petitioner's claim unless he adduces evidence demonstrating "cause for the default and actual

prejudice as a result of the alleged violation of federal law." Id. at 417 (quoting Coleman v.

Thompson, 501 U.S. 722, 750, 111 S.Ct. 2546 (1991)) (internal quotations omitted).                "To



                                                   8
   Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 9 of 13 PageID# 107



establish 'cause,' a prisoner must 'show that some objective factor external to the defense

impeded counsel's efforts to comply with the State's procedural rule.'" Id. (quoting Murray v.

Carrier, All U.S. 478, 488, 106 S.Ct. 2639 (1986)). Specifically, the petitioner must show that

the "factual or legal basis for the claim was not reasonably available to the claimant at the time

of the state proceeding." Id. (quoting Roach v. Angelone, 176 F.3d 210, 222 (4th Cir. 1999))

(internal quotations omitted).

       Collins has shown no reason to bypass Virginia's requirement that he preserve his

specific intent argument at trial. The Court must honor the Virginia Supreme Court's ruling, and

it rejects the petitioner's claim as having already been decided on an adequate and independent

state law ground.

   D. Ineffective Assistance of Counsel


       Collins next claims that he received ineffective assistance of counsel, in violation of the

Sixth Amendment, because his attorney failed to preserve the retroactive punishment and

specific intent arguments at trial. When a habeas petitioner raises an ineffective assistance of

counsel claim, the Court reviews the claim through both the strictures of AEDPA as well as the

standard of Strickland v. Washington, 466 U.S. 668, 687 (1984), and it progeny.         Moore v.

Hardee, 723 F.3d 488, 495-96 (4th Cir. 2013). Under this "doubly deferential review," the Court

must determine "not whether counsel's actions were reasonable, but whether there is any

reasonable argument that counsel satisfied Strickland's deferential standard."         Id. at 496

(quoting Harrington v. Richter, — U.S. —,131 S.Ct. 770, 788 (2011)) (internal quotations

omitted).

       To satisfy Strickland, a convicted defendant must show that his counsel's representation

was both deficient and prejudicial to his defense. Strickland v. Washington, 466 U.S. 668, 687
  Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 10 of 13 PageID# 108



(1984). To satisfy the deficient performance prong, the convicted defendant must overcome the

'"strong presumption' that counsel's strategy and tactics fall 'within the wide range of reasonable

professional assistance.'"   Burch v. Corcoran, 273 F .3d 577, 588 (4th Cir. 2001) (quoting

Strickland, 466 U.S. at 689).       The prejudice component requires proof of "a reasonable

probability that, but for counsel's unprofessional errors, the result of the proceeding would have

been different. A reasonable probability is a probability sufficient to undermine confidence in

the outcome." Strickland, 466 U.S. at 694.        The Court need not determine whether counsel

performed deficiently if it can readily dismiss the petitioner's claim for lack of prejudice. Id. at

697.


       AEDPA limits the Court's review in this case because the Virginia Supreme Court denied

Collins' claim on the merits, holding that it satisfied "neither the 'performance' nor the

'prejudice' prong ... enunciated in Strickland v. Washington." Collins v. Clarke, No. 13009, at

p. 3. Section 2254(d) bars the Court from granting habeas relief on this ground unless the

Virginia Supreme Court applied Strickland in an unreasonable manner. Moore, 723 F.3d at 496

(quoting Richter, 131 SCt. at 785, Cullen v. Pinholster, — U.S. —, 131 S.Ct. 1388, 1410-11

(2011)). The Court may not grant Collins habeas relief even if his claim has merit unless "there

is no possibility fairminded jurists could disagree that the state court's decision conflicts with the

[Supreme] Court's precedents." Id. (quoting Richter, 131 S.Ct. at 785) (internal quotations

omitted).

       Taking the retroactive punishment argument first, the Court finds that the Virginia

 Supreme Court did not apply Strickland unreasonably. The Supreme Court rejected Collins'

 claim due to his testimony at trial. Collins testified that he did not mistake the victim for the

 fugitive, but merely believed they looked similar. He also testified that he only spoke with



                                                  10
  Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 11 of 13 PageID# 109



Spruill for 45 seconds, telling him that he needed to find Sydnor and asking if Spruill had any

information on Sydnor's whereabouts. In other words, Collins testified that the criminal acts in

question never occurred. The Virginia Supreme Court found that Collins had satisfied neither

the prejudice nor performance prongs of Strickland because a retroactivity argument would

have no bearing on a case where the defendant simply denies "committing the acts for which he

was charged." Collins v. Clarke, No. 130099, at p. 3. The Court agrees with this conclusion.

       While Collins' counsel advanced the abrogation argument at trial, the core of his defense

was a denial of the very acts that made up the offense. Given Collins' testimony, it made tactical

sense to argue hardest about innocence, not retroactivity. Moreover, even if the petitioner's

counsel had preserved the retroactive punishment claim, the Court finds it hard to see the

outcome of the case being any different. The Virginia statute requiring a bail bondsman license

had been on the books for almost three years. Collins should have known that he needed a

license. Not having a license opened him up to the charges in this case. Even if he did not know

about the law, it hardly subjected him to retroactive punishment. Thus, as to the retroactivity

argument, the Virginia Supreme Court did not apply Strickland unreasonably.

       Collins also claims that he received ineffective assistance of counsel because his trial


counsel failed to preserve his lack of specific intent claim. The petitioner claims that he did not

possess the requisite intent to abduct Spruill because he only intended to "act[] as a bail recovery

agent, albeit without a license," and did not intend to deprive Spruill of his personal liberty. (Dk.

No. 1 at r\ 86.) He argues that the "intent analysis in an abduction case is based on whether there

is intent to deprive [the victim] of personal liberty rather than simply an intent to commit another

offense which may require temporary detention." (Dk. No. 1 at 1 88.) According to Collins, any

detention that occurred was simply incidental to his true intent. (Dk. No. 1 at \ 85.) Collins also



                                                 11
  Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 12 of 13 PageID# 110



raised this claim in his state habeas petition. The Virginia Supreme Court rejected it, finding it

"irrelevant" that Collins committed the attempted abduction while also acting as an unlicensed

bail bondsman. The Court agrees with this conclusion as well.

          Collins' argument simply makes no sense. The abduction statute criminalizes detaining a

person with the intention of depriving him of his personal liberty, without a valid justification or

excuse.     Va. Code. § 18.2-47.       The justification or excuse necessary to avoid criminal

punishment does not concern the defendant's subjective view of his actions. Otherwise, any

unlicensed bail bondsman could avoid criminal punishment under § 18.2-47 by claiming that he

merely intended to violate Virginia's bail bondsmen licensing statute. The required intent is an

intent to deprive the victim of freedom of movement.

          The petitioner clearly intended to deprive Spruill of his personal liberty after he mistook

Spruill for a fugitive. He held Spruill at gunpoint and attempted to pull Spruill into his car. He

wanted to detain him and forcibly take him back to North Carolina. It does not matter whether

the petitioner intended to act as a bail bondsman. Collins' subjective belief that he was acting as

a bail bondsman changes neither the fact that he intended to arrest Spruill nor that he did not

possess the authority to do so.

          The petitioner's counsel did not provide ineffective assistant by failing to raise this

meritless claim because it would not have altered the outcome.        Collins has failed to meet the


prejudice prong of Strickland, and the Virginia Supreme Court applied Strickland reasonably.




                                                  12
  Case 3:13-cv-00763-JAG Document 10 Filed 06/19/14 Page 13 of 13 PageID# 111



                                       IV.        Conclusion


        For the foregoing reasons, the Court GRANTS the respondent's Motion to Dismiss, (Dk.

No. 5), and DISMISSES the petitioner's petition for a writ of habeas corpus.

        An appropriate Final Order shall issue.




                                                                           /s/

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Date:
Richmond, VA'
                                                               John A. GibneyfJri
                                                               United States District Judge




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